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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 07-cr-45-PB

Dana Ragonese, et al.

                               O R D E R


     The defendant, through counsel, has moved to continue the

August 21, 2007 trial in the above case, citing the need for

additional time to complete discovery and engage in plea

discussions or prepare for trial. The government and co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from August 21, 2007 to October 10, 2007. In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The July 24, 2007 final pretrial conference is continued to

September 25, 2007 at 3:30 p.m.

      Defendant Chris Douglas has also filed a request for

continuance (Doc. No. 75) and I grant his motion in accordance

with this order.

      No further continuances.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

July 24, 2007

cc:   David W. Ruoff, Esq.
      Glenn Geiger, Esq.
      Harry Batchelder, Esq.
      R. Brian Snow, Esq.
      Bjorn Lange, Esq.
      Peter Papps, Esq.
      United States Probation
      United States Marshal




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